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UNITED STATES DISTR]CT COURT
WESTERN DISTRICT OF TENNESSEE

EASTERN DIVISION
PATRICK FLAYTER, )
Plaintiff, §
vs. § Civil Action No.: 1:03-} 235- B/P
CORRECTIONS CORPORAT[ON §
OF AMERICA, et al., )
Defendants. §

 

AGREED ORDER OF DISMISSAL WITH PREJUDICE

 

All matters between the parties having been fully resolved and all parties being in
agreement that this cause should be dismissed in its entirety, With full prejudice, the
Court therefore finds that this cause should be dismissed, With full prejudice and,
accordingly:

IT IS, THEREFORE, ORDERED, ADJUDGED AND I)ECREED that this
cause be, and the same is hereby, dismissed against the Defendants, Corrections
Corporation of America, Doctor Crants, Prison Realty Trust, lnc., Correctional
Management Ser\/ices Corporation, Prison Realty Managernent, lnc., and Prison
Managernent Services, Inc., With prejudice as an adjudication upon the merits, and it, is,

FURTHER, ORI)ERED, ADJUDGED AND DECREED that costs of this cause,
including filing fees, Will be paid by Plaintiff and no discretionary costs, bill of cost,
expenses or any attorney fees, either by statute or contract, Will be applied for or awarded by

either party.

This document entered on the docket sheet in compliance
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Case 1:03-cV-01235-.]DB-tmp Document 34 Filed 07/01/05 Page 2 of 4 Page|D 65

Dated: this day of ,2005.

&§M

J. DANIEH BREEN
NIT 1) sTATEs DIsTRICT JUD

 

APPROVED FOR ENTRY:

%WO%D /M/

 

 

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Case 1:03-cV-01235-.]DB-tmp Document 34 Filed 07/01/05 Page 3 of 4 Page|D 66

CERTIFICATE OF SERVICE

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126,
Knoxville, TN 37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,
Columbia, SC 29201 on lune &, 2005.

PENTECOST, GLENN & RUDD, PLLC

By: m U%éfh

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Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 1:03-CV-01235 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

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Honorable .l. Breen
US DISTRICT COURT

